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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION



EDWIN RAY SALGADO,

              Plaintiff,

vs.                                              CASE NO.

LOOMIS ARMORED US, LLC,

              Defendant.


                           DEFENDANT’S NOTICE OF REMOVAL

        Defendant LOOMIS ARMORED US, LLC, (“Loomis Armored” or “Defendant”), by

and through its undersigned attorneys and pursuant to 28 U.S.C. §§ 1331, 1441(a) and

1446, respectfully files this Notice of Removal giving notice that it is removing this civil

action to the United States District Court for the Middle District of Florida, Jacksonville

Division. In support of this Notice of Removal, Defendant states as follows:

        I.    PROCEDURAL HISTORY

        1.    On or about July 13, 2016, Plaintiff Edwin Ray Salgado (“Plaintiff”) filed a

Complaint in the Circuit Court of the Fourth Judicial Circuit, in and for Duval County,

Florida, entitled Edwin Ray Salgado v. Loomis Armored US, LLC, designated Case No.

2016-CA-4633 (hereafter referred to as the “State Court Action”). In the Complaint,

Plaintiff brought a cause of action based on the Fair Labor Standards Act (“FLSA”), 29

U.S.C. § 201-209.
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      2.     On August 5, 2016, Defendant was served with a Summons and

Complaint by process service. A copy of the Notice of Service of Process is attached

hereto as Exhibit “A.”

      3.     This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b),

within thirty-days (30) from the date on which the summons was served. No orders

have been signed by the state judge presiding over this action, and there are no

pending motions. (Copies of all pleadings and other papers or exhibits of every kind on

file in the State Court Action are attached hereto as Exhibit “B.”)

      II.    THIS ACTION IS REMOVABLE BECAUSE THIS COURT HAS
             FEDERAL QUESTION JURISDICTION.

      4.     This action is within the original federal question jurisdiction of the United

States District Court, pursuant to 28 U.S.C. § 1331, because Plaintiff has asserted

claims under the FLSA.

      III.   NOTICE AND TIMELINESS

      5.     This petition and notice thereof has been given to Plaintiff, and has been

filed with the Clerk of the Circuit Court of the Fourth Judicial Circuit in and for Duval

County, within thirty days of the date service was deemed effected and is therefore

timely according to 28 U.S.C. § 1446.        See Murphy Brothers, Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344, 354 (1999).

      6.     The required filing fee of $400.00 and an executed civil cover sheet

accompany this Notice.




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         WHEREFORE, Defendant respectfully removes this action, pending in the Fourth

Circuit Court of Duval County, Florida to the United States District Court in the Middle

District Court of Florida, Jacksonville Division.

Dated: August 24, 2016.
                                            LITTLER MENDELSON, P.C.
                                            111 North Magnolia Avenue
                                            Suite 1250
                                            Orlando, Florida 32801
                                            Telephone: 407.393.2900
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                                      BY:   /s/ Melanie A. Zaharias
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                                            Attorneys for Defendant

                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the
Court by using the E-File system and a correct copy of the foregoing has been furnished
by the court via electronic mail to: Paul Shorstein, Esquire, Shortein, Lasnetski & Gihon,
LLC, 6550 St. Augustine, Florida 32217, paul@jaxtriallaw.com, on this 24th day of
August, 2016.


                                            /s/ Melanie A. Zaharias
                                            Melanie A. Zaharias, Esquire

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